                                      Case 23-50096-rlj12 Doc 30-1 Filed 07/13/23 Entered 07/13/23 21:19:40                         Desc
                                                        Case DC-2023-CV-0565 Docket Page 1 of 1
https://research.txcourts.gov/CourtRecordsSearch/ViewCasePrint/a159347505375f16a915933b46f0828e

Case Information
First Bank & Trustvs.2B Farms, Inc.,Terry Robinson,Rebecca Robinson
DC-2023-CV-0565
Location                                          Case Category                          Case Type                                  Case Filed Date
Lubbock County - District Clerk                   Civil - Contract                       Debt/Contract - Debt/Collection            5/9/2023
Judge
Grace, John



Parties         5


Type                                   Name                                            Nickname/Alias                   Attorneys

Plaintiff                              First Bank & Trust                                                               C. DUNHAM BILES

Defendant                              2B Farms, Inc.

Defendant                              Rebecca Robinson                                                                 DAVID M. GUINN

Defendant                              Terry Robinson                                                                   DAVID M. GUINN

Other                                  BART JOHN SCHILLING


Events         9


Date                Event            Type                                 Comments                        Documents

5/9/2023            Filing           Petition                             Plaintiff's Original Petition

5/10/2023           Filing           AFDV - Affidavit Filed               Declaration of Bart Schilling   Affidavit of Bart Schilling.pdf

5/15/2023           Filing           Amended Filing                       Plaintiff's First Amended       First Bank and Trust - First Amended Petition.pdf
                                                                          Verified Petition for
                                                                          Enforcement of Security
                                                                          Agreements, Money
                                                                          Damages, ... Application for
                                                                          TRO, Temporary Injunction,
                                                                          Application for Writ of
                                                                          Sequestration

5/15/2023           Filing           AGRM - Agreement                     Notice of Rule 11 Agreement     Notice of Rule 11 Settlement Agreement.pdf

5/17/2023           Filing           ORSH1 - Order Setting Hearing        Order Setting Hearing on        Order Setting Hearing.pdf
                                                                          June 2, 2023 at 1:30pm

6/1/2023            Filing           Counter Claim/Cross                    Defendants' Original Answer   00669688.pdf
                                     Action/Interpleader/Intervention/Third and Counterclaims
                                     Party

6/1/2023            Filing           NFOR - Notice Of Filing Of Records   Notice of Bankruptcy Filings    00669909.pdf

6/29/2023           Filing           APOC - Appearance Of Counsel         Appearance of Counsel and       AOC - Robinsons .pdf
                                                                          Request for Discovery

6/30/2023           Filing           MOWC - Motion To Withdraw As         Motion to Withdraw as           Motion to Withdraw - Robinsons.pdf
                                     Counsel                              Attorney of Record



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